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                                      UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEW MEXICO

                                  Before the Honorable GREGORY J. FOURATT
                                  CRIMINAL CLERK’S MINUTES at Las Cruces
                                                                     Recording
Case Number:        24-86 MJ                 Date:    1/30/2024                   LCR-SIERRA BLANCA
                                                                     Information:
                                                                     PRELIMINARY/DETENTION/UNITED
                                                                     STATES’ UNOPPOSED MOTION FOR
Clerk:              CATHY ALVAREZ            Type of Hearing:
                                                                     CONTINUANCE OF PRELIMINARY
                                                                     HEARING


Defendant(s):                                         Attorney(s):                              Appt’d.   Ret’d.
CHLOE ANNELIESE LUCERO                                DARREN ROBINSON                                ☒      ☐
Assistant
                     ELIOT NEAL                       Interpreter:   N/A
U.S. Attorney:
                                                      Court in
Pretrial Officer:    LAURA GARIBAY                                   9:01-9:08 A.M. (7 min)
                                                      Session:


 ☐       Court questions Defendant regarding his/her physical and mental condition, age, education

 ☒       Court advises Defendant(s) of possible penalties and all constitutional rights

 ☐       ORAL Motion for Detention Hearing by Government

 ☐       Court grants ☐ Government’s ☐ Defense counsel’s oral motion to continue detention hearing

 ☒       Preliminary hearing reset on Tuesday, 2/6/2024 @ 9:00 a.m. (Sierra Blanca Courtroom)

☒        Detention hearing reset on Thursday, 2/1/2024 @ 9:00 a.m. (Sierra Blanca Courtroom)



☒        Defendant in custody


            Other: COURT ADDRESSES THE UNOPPOSED MOTION FOR CONTINUANCE OF THE
         PRELIMINARY HEARING FILED BY THE GOVERNMENT. COURT GRANTS THE MOTION AND
         RESETS THE PRELIMINARY HEARING FOR TUESDAY, 2/6/2024 @ 9:00 A.M. DEFENSE
         COUNSEL REQUESTS CONTINUATION OF THE DETENTION HEARING UNTIL THURSDAY,
 ☒
         2/1/2024 TO ALLOW TIME TO SPEAK WITH DEFENDANT’S FAMILY. DEFENSE COUNSEL
         WILL CONTACT PRETRIAL IF AN INTERVIEW IS NEEDED. COURT GRANTS CONTINUANCE
         AND RESETS THE DETENTION HEARING ON THURSDAY, 2/1/2024 @ 9:00 A.M. DEFENDANT
         MAKES A STATEMENT IN OPEN COURT.
